Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 1 of 25




             EXHIBIT 10
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 2 of 25




                                                               )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 3 of 25




                                                               )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 4 of 25




                                                             )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 5 of 25




                                                           )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 6 of 25




                                                            )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 7 of 25




                                                              )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 8 of 25




                                                            )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 9 of 25




                                                           )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 10 of 25




                                                           )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 11 of 25




                                                            )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 12 of 25




                                                              )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 13 of 25




                                                               )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 14 of 25




                                                              )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 15 of 25




                                                             )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 16 of 25




                                                             )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 17 of 25




                                                                )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 18 of 25




                                                             )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 19 of 25




                                                          )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 20 of 25




                                                          )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 21 of 25




                                                        )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 22 of 25




                                                           )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 23 of 25




                                                           )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 24 of 25




                                                              )":&4
Case 2:16-cv-02296-DDC Document 339-10 Filed 07/19/23 Page 25 of 25




                                                             )":&4
